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                      IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

 Madgia Ames, individually and on Behalf of             Case No.: 3:20-03594-MGL
 the Estate of Florence Thais Ames Goddard,
 Gerry Lionel Ames, Alethea Diane Ames-
 Brooks, as Guardian of A.M.G.,

                       Plaintiff(s),               PLAINTIFFS’ RULE 26(f) REPORT

    v.

 Prisma Health, Prisma Health Baptist
 Hospital, f/k/a Palmetto Baptist Hospital,
 Prisma Health Midlands Network, LLC,
 Joseph Campbell, MD, John Doe
 Defendants 1-5, Jane Doe Defendants 1-5,

                      Defendant(s).

       The parties, having consulted pursuant to Rule 26(f), Fed. R. Civ. P., hereby report as
follows (check one below):

              We agree that the schedule set forth in the Conference and Scheduling Order filed
              October 16, 2020 is appropriate for this case. The parties’ proposed discovery
              plan as required by Fed. R. Civ. P. Rule 26(f) and the information required by
              Local Civil Rule 26.03 will be separately filed by the parties.

              We agree that the schedule set forth in the Conference and Scheduling Order filed
              October 16, 2020 requires modification as set forth in the attached proposed
              Consent Amended Scheduling Order (use format of the Court’s standard scheduling
              order attached hereto). The parties’ proposed discovery plan as required by Fed.
              R. Civ. P. Rule 26(f) was separately filed by the Plaintiffs. The Proposed Order
              submitted by Defendant Joseph Campbell is acceptable to Plaintiffs. The
              Plaintiffs’ Rule 26.03 Interrogatory Responses were separately filed by the
              Plaintiffs.

              We are unable, after consultation, to agree on a schedule for this case. We,
              therefore, request a scheduling conference with the Court. The parties’ proposed
              discovery plan as required by 26(f) Fed. R. Civ. P., with disagreements noted,
              and the information required by Local Civil Rule 26.03 will be separately filed
              by the parties.


                             (SIGNATURE PAGE ATTACHED)
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                                              SEITHEL LAW, LLC.

                                    By:       /s/ Lynn Seithel
                                              Lynn Seithel, Federal ID # 8017
                                              Post Office Box 1929
                                              John’s Island, South Carolina 29457
                                              Telephone: (843) 557-1699
                                              Email : lynn@seithellaw.com

                                              Counsel for Plaintiffs
November 20, 2020




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